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17
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18
                              NORTHERN DISTRICT OF CALIFORNIA
19
                                                      )   Master File No. 3:07-cv-05944-SC
20                                                    )
     IN RE: CATHODE RAY TUBE (CRT)                    )   MDL No. 1917
21   ANTITRUST LITIGATION                             )
                                                      )   CLASS ACTION
22                                                    )
                                                      )   SUPPLEMENTAL MEMORANDUM
23                                                    )   SUPPORTING GOLDMAN SCARLATO
                                                      )   & KARON, P.C. AND BALL & SCOTT’S
24   This Document Relates to:                        )   MOTION FOR APPOINTMENT AS
                                                      )
25   ALL INDIRECT-PURCHASER                           )   INTERIM CO-LEAD COUNSEL
     ACTIONS                                          )
26                                                    )   (Related Cases)
                                                      )
27                                                    )   (FRCP Rules 1 and 23(g))
                                                      )
28                                                    )   Date: April 4, 2008
                                                      )   Time: 10:00 a.m.
     Supplemental Memorandum Supporting Goldman Scarlato & Karon, P.C. and Ball & Scott’s Motion for
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 1                                                    )
                                                      ) Hon. Samuel Conti
 2                                                    ) Courtroom One, 17th Floor
                                                      )
 3

 4           Goldman Scarlato & Karon, P.C. and Ball & Scott—two of the law firms moving for
 5   appointment as interim co-lead counsel—learned yesterday that another co-lead counsel
 6
     applicant, Miller Law LLC, intends to withdraw the Co-Lead Counsel application that it has
 7
     filed along with The Alioto Law Firm. But the Alioto Law Firm, remains interested in
8
     pursing a Co-Lead Counsel position and, to this end, today filed a Notice of Appearance as
 9
10   Additional Counsel of Record on behalf of the multiple plaintiffs represented by Goldman

11   Scarlato & Karon, P.C. and/or Ball & Scott. Moreover, by the instant memorandum,

12   Goldman Scarlato & Karon and Ball & Scott support The Alioto Law Firm’s addition as
13   proposed interim co-lead counsel and accordingly restate Joseph M. Alioto’s qualifications to
14
     ensure that the Court may properly consider these qualifications as satisfying Fed. R. 23(g).
15
     A.      The Alioto Firm Has Substantial Experience Trying Class Actions And Antitrust
16           Claims Involving Alleged International Price-Fixing Cartels. It is Qualified To Act As
             Additional Co-Lead Counsel And Meets The Requirement Of Experience,
17           Knowledge, And Resources.
18

19           The Alioto Law Firm practices exclusively in the area of antitrust law and offers over

20   38 years of prosecuting antitrust actions under every section of the antitrust laws, including

21   the prosecution of cases against international price-fixing cartels operating in Asia, Europe,

22   and the United States. Alioto Decl. at ¶¶1-3. Joseph M. Alioto has tried and won multiple

23   private antitrust actions including, for example, Bray v. Safeway (in 1974 the largest judgment

24   in the history of the antitrust laws at that time) and McDonald v. Johnson & Johnson (in 1981,

25   the largest judgment—$170 million—for individuals in the history of the antitrust laws). See

26   Alioto Decl., Ex. A. With over 80 trials to his credit, Mr. Alioto has tried antitrust matters

27   involving every major industry from high-tech and electronics to manufacturing to service,

28   from trading to finance to supply, from retail to transportation to mining, both foreign and

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 1   domestic. Mr. Alioto is a regular lecturer, teacher, and nationwide consultant to antitrust
 2   practitioners. Indeed, his skills as a plaintiff’s antitrust trial lawyer are so renowned that he is
 3   regularly retained as a consultant or to conduct antitrust trials—including by some of the
 4   candidates for interim lead counsel in this case. See Alioto Decl. at ¶7.
 5           The Alioto Law Firm’s skills are particularly useful here because this is an
 6   international price-fixing case. The Alioto Law Firm and Mr. Alioto, in particular, have tried
 7   international price fixing cases. As part of his extensive experience, Mr. Alioto deposed the
8    Chief Executives of major electronics firms including, for example, executives from named
 9   defendants in this case. In short, Mr. Alioto has a breadth of experience working in and
10   developing international antitrust cases for trial. See Alioto Decl. at ¶¶3-4. As set forth in
11   Mr. Alioto’s accompanying Declaration, The Alioto Firm gained an understanding of the
12   mechanics of alleged price-fixing cartels in Asia and Europe beginning in the 1980s. Mr.
13   Alioto’s familiarity with the allegations in this case began long before 2008, when
14   government investigations into the related LCD market began to surface in 2006. Some
15   manufacturers who were defendants and/or witnesses in these earlier cases appear to have
16   played a critical role in this case.
17           Based on previous litigation, The Alioto Law Firm understands which witnesses are
18   important, how the manufacturers operate internally and with other defendants, and their
19   pressure points, weakness, or strategies, any of which may lead to earlier settlements with
20   some or all of the defendants. Because of the Alioto firm’s experience and past work-product,
21   it has a leg up on the alleged practices, potential locations, and manner in which alleged price
22   fixing may have occurred. Given the breadth of this past experience, no other firm seeking
23   appointment is better prepared to direct the investigation and trial preparation.
24           The attorneys who would work on the matter are listed in Exhibits A and B to the
25   Alioto Declaration and include:
26                   a.      Joseph M. Alioto.
27                   Joseph M. Alioto has over 38 years of experience prosecuting private antitrust
28   cases. Not only has he argued in the Supreme Court of the United States, every circuit of the
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 1   United States Courts of Appeals, and United States District Courts of approximately 40 states,
 2   but he has also prosecuted cases against foreign corporations headquartered in Australia, Asia,
 3   Europe, and South and Central America. Alioto Decl. at ¶¶1-3. In addition to his breadth of
 4   experience, Mr. Alioto excels in successful prosecution of antitrust cases, having tried and
 5   won more or as many antitrust cases as any other attorney in the country. See Alioto Decl.,
 6   Ex. A. Additionally, Mr. Alioto has the most impressive record of published antitrust
 7   decisions in federal courts of any counsel applying to be interim lead counsel. See Alioto
8    Decl., Ex. A. Having prosecuted cases throughout the world, Mr. Alioto is familiar not only
 9   with the strategies, tactics, and procedures necessary for prosecuting such cases and bringing
10   them to trial, but he is also intimately familiar with the policies, practices, and procedures of
11   the named defendants in this particular case. Alioto Decl. at ¶¶4, 6.
12           In addition to his nearly impeccable record as an antitrust attorney who has
13   represented antitrust plaintiffs in more than 300 cases, Mr. Alioto is recognized as an expert in
14   antitrust matters. He has lectured at American Bar Association meetings as well as other
15   symposia on the techniques of prosecuting and trying antitrust cases; he has been asked by
16   other law firms to lead them in the prosecution of these cases; he has testified before the
17   United States Senate Judiciary Committee and participated in televised debates with the
18   Reagan and Bush Administrations regarding antitrust law. See Alioto Decl. at ¶¶5,7, Ex. A.
19   During his speaking engagements, Mr. Alioto covers both the pragmatic instruction focused
20   on how to try international antitrust cases to the theoretical and philosophical underpinning of
21   antitrust laws. Id.
22                   b.      Theresa D. Moore.
23           Theresa D. Moore focuses on antitrust, unfair competition, business, consumer, and
24   complex class action cases. Ms. Moore has represented clients in antitrust litigation involving
25   illegal pricing, illegal price-fixing conspiracies, and class actions involving indirect
26   purchasers in industries ranging from travel to retail to drug manufacturing. Ms. Moore has
27   served as counsel in more than seven class action lawsuits, both in California and nationwide.
28

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 1   Since 1981, Ms. Moore has been lead counsel in over 100 trials, including civil and criminal
 2   trials.
 3             In addition to her antitrust and class action background, Ms. Moore serves as a Judge
 4   Pro Tem for the State of California in San Francisco Superior Court; she is a distinguished
 5   Adjunct Professor in Trial Advocacy and Evidence courses at the University of California,
 6   Hastings College of the Law. Ms. Moore also specializes in mediation, as she is a California
 7   Certified Mediator and Special Master, a position through which she has successfully
8    mediated approximately 150 cases for private and government organizations.
 9                     c.      Angelina Alioto-Grace.
10             Angelina Alioto-Grace focuses on antitrust, complex business torts, intellectual
11   property, unfair competition, and class action lawsuits. After having clerked for the Office of
12   Counsel to the President of the United States, Ms. Alioto-Grace’s experience includes both
13   trial and appellate advocacy. As a trial lawyer, Ms. Alioto-Grace excels at all aspects of trial
14   preparation; she also is instrumental in pre-trial responsibilities, including discovery, client
15   management, and settlement negotiation.
16                     d.      Joseph M. Alioto, Jr.
17             Joseph M. Alioto, Jr. is admitted to practice in the United States Supreme Court, the
18   Ninth Circuit Court of Appeals, United States District Courts in California and Ohio, and the
19   California Supreme Court. Mr. Alioto, Jr., has prosecuted federal and California antitrust and
20   unfair competition violations exclusively for five years; he has served as both first- and
21   second-chair counsel in actions involving price-fixing, monopolization, price discrimination,
22   merger enforcement, and competition and business tort claims. In price-fixing cases, Mr.
23   Alioto, Jr., has represented clients in the software, oil, air transportation, pharmaceutical, rail
24   freight, hotel, and HVAC manufacturing industries.
25             Of particular note to this case, Mr. Alioto, Jr., is at the forefront of the debate
26   concerning “pass-on” issues in Direct and Indirect Purchaser overcharge cases. See Alioto
27   Decl., Ex. B. He has challenged the availability of the pass-on defense in so-called “Illinois
28

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 1   Brick Repealer” states as an issue of first-impression currently pending in the California Court
 2   of Appeal.
 3   B.      Alioto’s Collective Previous Experience And Leadership In Class Action Cases And
             Knowledge About The Facts And Substantive Legal Issues Ensure Careful
 4           Identification And Investigation As The Case Continues.
 5
             Like Goldman Scarlato & Karon and Ball & Scott, Alioto, too, has established his
 6
     knowledge and begun investigation of the key issues, defendants, and industry in this case.
 7
             With the first status conference on April 4, and case leadership still uncertain, the case
8
     clearly is in an early stage. The defendants remain under investigation by a host of
 9
     international governmental authorities, including the DOJ. Alioto has significant experience
10
     and work-product knowledge in the area of alleged price fixing, including price fixing of
11
     consumer electronics produced in Asia and Europe. Alioto’s past experiences are extremely
12
     valuable to the class and would allow for focused discovery from the outset.
13
             Alioto affirms that should he be appointed interim lead co-counsel for indirect
14
     purchaser plaintiffs, his firm would continue to develop the issues and facts in these
15
     consolidated cases as well as identify and research all relevant legal issues.
16
     C.      Alioto Will Dedicate The Resources Necessary To Prosecute This Action In An
17
             Efficient Manner.
18
19           Alioto has taken the lead role in preparing antitrust cases for trials for over 38 years

20   and has extensive international experience in prosecuting antitrust and price-fixing actions.

21   Alioto Decl. at ¶¶3-4. Alioto is located in the Bay Area and has practiced extensively before

22   this Court, and its proximity to the Court will serve to facilitate efficient scheduling of

23   hearings, conferences, and other activities with the Court and defense counsel. To the extent

24   that travel arrangements between the U.S. and Asia are necessary, Alioto’s firm is well-suited

25   to facilitate travel arrangements efficiently. As evidenced by his history of litigating antitrust

26   and class actions both national and international in scope, Alioto possesses the resources

27   necessary to act as lead counsel on the indirect purchaser side. Alioto Decl. at ¶¶1-3, 7.

28

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 1   D.      If Appointed As Interim Counsel, Alioto Will Cooperate With The Other Candidates
             For Interim Lead Counsel For The Indirect Purchasers.
 2
             Given the caliber of attorneys that are working on the case, Alioto expects that the
 3
     need for coordination between the direct and indirect purchaser groups – particularly in
 4
     discovery matters – and an emphasis on moving forward in a professional and efficient
 5
     manner, are matters that are well understood. Should any defendant, or for that matter direct
 6
     purchaser counsel, point to Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977) 1 , superseded in
 7
     California by statute in BWI Custom Kitchen v. Owens-Illinois, Inc., 191 Cal.App. 3d 1341
8
     (1987), and related pass-on issues as questions requiring special factual and legal attention,
 9
     then the Alioto firm, which is at the forefront of issues concerning the pass-on defense, is well
10
     prepared to address this issue. Alioto Decl., Ex. A.
11
             Alioto believes that the case would also benefit from an entry of an order for
12
     preservation of electronic evidence in the immediate future. With regard to a protective order,
13
     Alioto anticipates that the defendants will bring a motion for such an order, and the
14
     defendants should tender one by early May 2008 with a return date before the Court to resolve
15
     any differences. Because these matters are not novel, they can and should be performed by
16
     experienced counsel in fairly short order.
17
     E.      The Appointment Of Counsel Should Be Based On What Is Best For The Class And
18
             Should Not Be Determined Because Of The Result Of A Bargaining Process Among
19           Competing Attorneys.

20
             The task of the appointment of interim lead class counsel is unlike other civil litigation
21
     and is not a choice that is left solely to the clients or counsel. Instead, this task falls to the
22
     Court. See generally Manual for Complex Litigation Fourth (2004) (“Manual”), at §21.27.
23
     The self-appointment of counsel as a lead counsel candidate(s), particularly by those firms
24
     that repeatedly work together on other cases, does not necessarily dictate what is best for the
25

26
     1
27            Issues remaining under study by the Antitrust Modernization Commission include the
     remedies and legal liabilities in antitrust proceedings and whether that case serves or disserves
28   federal antitrust law. This area of the law may see significant developments prior to the end
     of this litigation.
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 1   class. 2 The Manual makes clear that the suggestion of counsel is but just one factor and that
 2   “[w]hile it may be appropriate and possibly even beneficial for several firms to divide work
 3   among themselves, such an arrangement should be necessary, not simply the result of a
 4   bargain among the attorneys.” Manual, supra, at ' 10.224, citing In re Auction Houses
 5   Antitrust Litig., 197 F.R.D. 71 (S.D.N.Y. 2000) (emphasis added); Smiley v. Sincoff, 958 F.2d
 6   498 (2d Cir. 1992); In re Fine Paper Antitrust Litig., 98 F.R.D. 48 (E.D. Pa. 1983), aff’d in
 7   part and rev’d in part, 751 F.2d 562 (3d Cir. 1984).
8            The case leadership should not be guided in a manner that may be best suited for
 9   arrangements made among attorneys with competing interest for control, promises of work in
10   return for agreement with the self-appointment, and division of attorneys’ fees. See In re
11   International Air Transp. Surcharge Antitrust Litig., supra (two lead counsel). [In the
12   pending In re SRAM Antitrust Litigation, MDL No. 1819 (N.D. Cal.), Judge Wilken rejected
13   Zelle Hofmann’s original proposed leadership consortium as a top-heavy structure and only
14   allowed for one lead counsel. See Zelle Hofmann Mem. at page 1.]
15   F.      The Interim Leadership Should Be Set Up With An Eye Toward Class Certification
             And Efficient Trial Preparation, Not A Long Administrative Procedure With
16           Duplicative And Overlapping Work.
17
             The Plaintiffs should work in a manner that assumes this price-fixing case will
18
     proceed to trial as soon as practical. The leadership should not be structured with the
19
     intention of setting up a long administrative process. By streamlining leadership and focusing
20
     on what is needed for class certification and trial, the impetus will be on working efficiently
21
     and minimizing the cost to the class. For example, the structure proposed by Alioto (and
22
     supported by Goldman Scarlato & Karon and Ball & Scott) will minimize overly-broad
23
     document requests and unnecessary document review, whittling down depositions and
24

25
     2
            See ¶7 of Scarpulla Declaration in Support of Zelle Hoffman and Lovell Stewart
26   Motion Mem., describing continued and ongoing working relationship between these firms.
     Leadership structures that are cobbled together merely to advance or compromise the
27   competing interests of particular lawyers in this or other cases, should be rejected. See In re
     “Agent Orange” Prod. Liab. Litig., 818 F.2d 179, 187 (2d Cir. 1987) (citing Cullen v. New
28   York State Civil Serv. Comm’n., 566 F.2d 846, 849 (2d Cir. 1977)). The Plaintiff Class
     leadership organization should also meet the factors outlined in § 10.224 of the Manual.
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 1   subpoenas to the critical witnesses, and accumulating only the evidence necessary for class
 2   certification and trial. See In re Auction Houses Litig., 2001-1 Trade Cas. (CCH) P73, 171,
 3   approval of settlement rejected in 135 F.Supp.2d 438 (S.D.N.Y 2001) (rejecting fee
 4   application of one of the applicants in this case because of duplication of time and effort
 5   improperly by “counsel anxious to participate in this litigation to find clients.”).
 6           The Manual specifically notes that the well-managed case must provide for
 7   appropriate staffing and that such appropriate staffing will assure that the fees, if any, will be
8    based on results and a percentage of the recovery of the class. Manual, supra, at pp. 246-248.
 9

10                                             CONCLUSION
11           As explained, Goldman Scarlato & Karon and Ball & Scott welcome The Alioto Firm
12   as additional proposed Interim Co-Lead Counsel. And should the Court believe only that one
13   law firm from each group’s co-lead counsel slate is the most appropriate way to proceed,
14   Goldman Scarlato & Karon and Ball & Scott support The Alioto Firm as serving this purpose.
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     Case 4:07-cv-05944-JST Document 191 Filed 03/28/08 Page 12 of 20




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18                            NORTHERN DISTRICT OF CALIFORNIA
19
                                      SAN FRANCISCO DIVISION
20

21    IN RE CATHODE RAY TUBES ANTITRUST ) Master File No.: 3:07-CV-5944
      LITIGATION                              )
22                                            ) MDL No. 1917
                                              )
23                                            ) CERTIFICATE OF SERVICE
      _______________________________________ )
      This document relates to:               )
24                                            )
                                              )
25    All Indirect-Purchaser Actions          )
26

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28

     Supplemental Memorandum Supporting Goldman Scarlato & Karon, P.C. and Ball & Scott’s Motion for
     Appointment as Interim Co-Lead Counsel – Case No. 3:07-cv-05944-SC
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 1                                    CERTIFICATE OF SERVICE
 2   Re:     IN RE CATHODE RAY TUBES ANTITRUST LITIGATION
             Master File No.: 3:07-CV-5944 SC; MDL No. 1917
 3
             I certify and declare under penalty of perjury that I: am a citizen of the United States
 4   and employed in the County of Cuyahoga, State of Ohio, am over eighteen (18) years of age
     and my business address is Goldman Scarlato & Karon, P. C., 55 Public Square, Suite
 5   1500,Cleveland, Ohio 44113, whose members are members of the State Bar of Ohio. I am
     not a party to or interested in the cause entitled upon the document to which this Certificate of
 6   Service is affixed; and that I served a true an correct copy of the following document(s) in the
     manner indicated below:
 7
       SUPPLEMENTAL MEMORANDUM SUPPORTING GOLDMAN SCARLATO &
8        KARON, P.C. AND BALL & SCOTT’S MOTION FOR APPOINTMENT AS
                          INTERIM CO-LEAD COUNSEL
 9
       XX     U.S. Mail, with First Class postage prepaid and deposited in a sealed envelope at
10                  Cleveland, Ohio. See SERVICE LIST.
11     XX     By USDC ECF: by USDC Live System-Document Filing System on all interested
                   parties registered for e-filing. See SERVICE LIST.
12
             I am readily familiar with the firm’s practice for the collection and processing of
13   correspondence for mailing with the Unites States Postal Service, and said correspondence
     would be deposited with the United Sates Postal Service at Cleveland, Ohio that same day in
14   the ordinary course of business.
15         I declare under the penalty of perjury that the foregoing is true and correct. Executed
     on March 22, 2008 at Cleveland, Ohio.
16

17   Dated: March 28, 2008                                    /s/ Daniel R. Karon
                                                              Daniel R. Karon
18
19                                            SERVICE LIST
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